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CO 526 Rev, 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

VS. Criminal Case No.; 29-106 (RC)

Lirim Sylejmani

WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury.

Defendant

AtS

Counsel for Defendant

] consent:
Linen 0 —s

AsSistant United States attorney

Approved:
[oh pA
T

Rudolph Contreras

Date: 12/12/2024

United States District Judge [-|
